                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                   AT WINCHESTER


SHANE REDMON,
                                                Case No: 4:18-cv-00038
         Plaintiff,
                                                Judge McDonough
v.
                                                Magistrate Judge Steger
YOROZU AUTOMOTIVE
TENNESSEE, INC.,
                                                JURY TRIAL DEMANDED
         Defendant.



                      STIPULATION OF DISMISSAL WITH PREJUDICE


          Pursuant to Rule 41(a)(1), Federal Rules of Civil Procedure, the parties hereby stipulate

to the dismissal of all claims, with prejudice. Each party shall bear its own attorneys’ fees and

costs.

          Respectfully submitted this 18th day of April, 2022.


 /s/ Joyce W. Cooper                                _/s/ Jennifer Rusie_
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                              CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document has been
  served on the following counsel of record via the Court’s CM/ECF system this 18th day
  of April, 2022.

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                                  /s/ Joyce W. Cooper

                                  Joyce W. Cooper




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